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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                 :
PARK AVENUE AESTHETIC            : Case No. 1:19-cv-09761-JGK
SURGERY, P.C.,                   :
                                 :
           Plaintiff,            :
                                 :
      v.                         :
                                 :
EMPIRE BLUE CROSS BLUE SHIELD : NOTICE OF MOTION TO DISMISS
and GROUPFIRST OF MARYLAND, INC. :
AND GROUP HOSPITALIZATION AND :
MEDICAL SERVICES, INC. d/b/a     :
CAREFIRST BLUECROSS              :
BLUESHIELD,                      :
                                 :
           Defendants.           :
                                 :

       PLEASE TAKE NOTICE that, upon the accompanying Brief and Certification of Wanda

Lessner, and the exhibits thereto, Defendant Group Hospitalization and Medical Services, Inc.

d/b/a CareFirst BlueCross BlueShield (“CareFirst”) will move this Court, before the Honorable

John G. Koeltl, at the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, New

York, New York 10007, on a date and time to be determined by the Court, for an order pursuant

to Rule 12(b)(6) of the Federal Rules of Civil Procedure dismissing Plaintiff’s First Amended

Complaint with prejudice.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Court’s February 21, 2020

Order, Plaintiff’s opposition papers, if any, must be served by April 10, 2020, and CareFirst’s reply

must be served by April 24, 2020.
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Dated: Livingston, New Jersey
       March 12, 2020                  BECKER LLC

                                       /s/ Michael E. Holzapfel, Esq._____________
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                                       Attorneys for Defendant Group
                                       Hospitalization and Medical Services, Inc.
                                       d/b/a/ CareFirst BlueCross BlueShield
